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                             EXHIBIT A
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF KINGS
         ___________________________________________X
         ASHRAF SALEH,                                               Index No.:

                               Plaintiff,                            SUMMONS

                  -against-                                            The basis of this venue is:
                                                                          Plaintiff’s address

         JPMORGAN CHASE BANK, N.A.;
         EQUIFAX INFORMATION SERVICES, LLC;
         EXPERIAN INFORMATION SOLUTIONS, INC.;
         and TRANS UNION, LLC,

                           Defendants.
         ___________________________________________X

         To the above-named defendant(s):

                YOU ARE HEREBY SUMMONED to appear in the Supreme Court of the State of New

         York, County of Kings at the office of the Clerk of said Court at 360 Adams Street, Kings County

         Civic Center, Brooklyn, NY 11201 in the County of Kings, State of New York, within the time

         provided by law as noted below and to file your answer to the annexed complaint with the Clerk;

         upon your failure to answer, judgment will be taken against you by default for the relief demanded

         in the Complaint.

         Dated: March 26, 2025


                                                               ________________________
                                                               Subhan Tariq, Esq.
                                                               Tariq Law PC
                                                               Attorney for Plaintiff
                                                               99 Park Avenue, Suite 1100
                                                               New York, NY 10016
                                                               Tel: (212) 804-9095




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         NOTE: The laws or rules of court provide that:

            a) If this summons is served by its delivery to you personally, you must appear and answer

                within TWENTY days after such service; or

            b) If this summons is served by its delivery to any person other than you personally, or is

                served by any alternative method permissible under the CPLR, you must appear and answer

                within THIRTY days after such service.



         Defendants’ addresses:

         JPMorgan Chase Bank, N.A.
         1111 Polaris Parkway
         Columbus, OH 43240

         Equifax Information Services, LLC
         1550 Peachtree Street NW
         Atlanta, GA 30309

         Experian Information Solutions, Inc.
         475 Anton Blvd.
         Costa Mesa, CA 92626

         Trans Union, LLC
         1510 Chester Pike
         Crum Lynne, PA 19022




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF KINGS
         ___________________________________________X
         ASHRAF SALEH,                                                  Index No.:

                           Plaintiff,

                                  v.                                    VERIFIED COMPLAINT

         JPMORGAN CHASE BANK, N.A.,
         EQUIFAX INFORMATION SERVICES, LLC,
         EXPERIAN INFORMATION SOLUTIONS, INC.,
         and TRANS UNION, LLC,

                       Defendants.
         ___________________________________________X

         By and through the undersigned counsel, Plaintiff Ashraf Saleh (“Plaintiff”), with knowledge as

         to his acts and investigation of counsel as to the acts of others, believing that further investigation

         and discovery will confirm that such allegations have substantial evidentiary support, alleges as

         follows:

                                          PRELIMINARY STATEMENT

            1. According to the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”), and the

                New York Fair Credit Reporting Act, NY General Business Law § 380 et seq. (“NY

                FCRA”), Plaintiff brings this action against JPMorgan Chase Bank, N.A., (“Chase”),

                Equifax (“Equifax”, “CRA,” or “CRA Defendant”), Experian Information Solutions, Inc.

                (“Experian,” “CRA,” or “CRA Defendant”), and Trans Union, LLC (“Trans Union”

                “CRA,” or “CRA Defendant”), to recover actual, statutory, and punitive damages, as well

                as costs and attorney’s fees and injunctive relief. Identity Theft is a significant issue

                impacting millions of consumers annually, causing devastating financial harm, emotional

                distress, and long-lasting damage to consumers credit profiles. Recognizing these impacts,


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               the FCRA imposes strict obligations on furnishers and credit reporting agencies to

               investigate and remove fraudulent information promptly and accurately upon receiving

               consumer disputes. Defendants have systematically failed to fulfill these obligations.

            2. Congress enshrined within the FCRA the “need to ensure that consumer reporting agencies

               exercise their grave responsibilities with fairness, impartiality, and a respect for the

               consumer’s right to privacy.” § 1681(a)(4).

            3. Moreover, Congress has plainly stated the purpose of the FCRA is “to require that

               consumer reporting agencies adopt reasonable procedures for meeting the needs of

               commerce for consumer credit, personnel, insurance, and other information in a manner

               which is fair and equitable to the consumer, with regard to the confidentiality, accuracy,

               relevancy, and proper utilization of such information . . . .” § 1681(b).

            4. Similarly, courts have stated that the purpose of the FCRA is to address the “serious

               problem in the credit reporting industry. . . of inaccurate or misleading information.”

               Kilpakis v. JPMorgan Chase Fin. Co., LLC, 229 F. Supp. 3d 133, 142 (E.D.N.Y., 2017)

               (internal quotation marks and emphasis omitted); see also, e.g., Porter v. Talbot Perkins

               Children's Servs., 355 F. Supp. 174, 176 (S.D.N.Y., 1973) (noting that “[t]he purpose of

               the Fair Credit Reporting Act is to protect an individual from inaccurate or arbitrary

               information about [that individual from appearing] in a consumer report . . . ”) (citing 116

               Cong. Rec. 36572 (1970)).

            5. The Consumer Financial Protection Bureau (“CFPB”) has explicitly stated that credit

               reporting agencies and furnishers must not merely defer to each other’s assertions without

               conducting independent and substantive reinvestigations. Defendants’ actions here

               exemplify the precise misconduct these regulatory guidelines aim to prevent.




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            6. As set forth herein, Defendants Chase, Equifax, Experian, and Trans Union denied Plaintiff

               the protections provided by the FCRA and NY FCRA concerning two Chase Bank accounts

               transactions, associated with account numbers 414720265701**** and 414720265702,

               (hereinafter referred to as the “fraudulent Chase accounts transactions”).

            7. On November 27, 2024, Plaintiff, through a dispute letter addressed to CRA Defendants,

               informed CRA Defendants that they were reporting the fraudulent Chase accounts

               transactions on Plaintiff’s Equifax, Experian, and Trans Union credit reports. Nevertheless,

               they continued to report the fraudulent Chase account transactions on Plaintiff’s Equifax,

               Experian, and Trans Union credit reports.

            8. For the sake of clarity, the chronological timeline of events that ensued following the first

               dispute letter initiated by Plaintiff is summarized below:




                 Dispute Description             Date of       Recipient Response           Result
                                                 Dispute                 Date

                 Initial Dispute: The            November Trans             December 11,    Incorrectly
                 fraudulent Chase accounts       27, 2024 Union             2024            verified the
                 transactions were reported                                                 fraudulent Chase
                 due to stolen wallet and                                                   accounts
                 Chase cards in China.                                                      transactions as
                 Plaintiff requested for                                                    accurate
                 removal of the same from
                 the credit report and along
                 with his dispute letter
                 attached the FTC Identity
                 Theft Affidavit

                 Initial Dispute: The            November Equifax           December 21,    Incorrectly
                 fraudulent Chase accounts       27, 2024                   2024            verified the
                 transactions were reported                                                 fraudulent Chase
                 due to stolen wallet and                                                   accounts
                 Chase cards in China.                                                      transactions as
                 Plaintiff requested for                                                    accurate
                 removal of the same from



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                the credit report and along
                with his dispute letter
                attached the FTC Identity
                Theft Affidavit


                Initial Dispute: The            November Experian         January 02,   Incorrectly
                fraudulent Chase accounts       27, 2024                  2025          verified the
                transactions were reported                                              fraudulent Chase
                due to stolen wallet and                                                accounts
                Chase cards in China.                                                   transactions as
                Plaintiff requested for                                                 accurate
                removal of the same from
                the credit report and along
                with his dispute letter
                attached the FTC Identity
                Theft Affidavit

                Second Dispute:                 January        Equifax    January 13,   Incorrectly
                Reiterated Identity Theft       01, 2025                  2025          verified the
                claim from the China                                                    fraudulent Chase
                incident, attached FTC                                                  accounts
                Affidavit again                                                         transactions as
                                                                                        accurate

                Second Dispute:                 January        Trans      No response   No response
                Reiterated Identity Theft       01, 2025       Union      received      received (non-
                claim from the China                                                    compliant)
                incident, attached FTC
                Affidavit again

                Second Dispute:                 January        Experian   No response   No response
                Reiterated Identity Theft       01, 2025                  received      received (non-
                claim from the China                                                    compliant)
                incident, attached FTC
                Affidavit again


            9. Despite Plaintiff’s multiple disputes, CRA Defendants did not correct the fraudulent Chase

               accounts transactions that they are reporting. Upon information and belief, CRA

               Defendants continue to report fraudulent Chase accounts transactions as belonging to

               Plaintiff.




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            10. Chase is liable to Plaintiff for violating § 1681s-2(b) of the FCRA by its acts and omissions,

               including but not limited to:

               a. failing to conduct reasonable investigations of Plaintiff’s disputes of the fraudulent

                   Chase accounts transactions reporting on Plaintiff’s credit reports with Equifax,

                   Experian, and Trans Union;

               b. failing to review all relevant information provided to Chase by CRA Defendants

                   concerning Plaintiff’s disputes; and

               c. failing to promptly modify, delete, or permanently block any and all disputed

                   information about the fraudulent Chase accounts transactions on Plaintiff’s credit file

                   with the CRA Defendants that Chase could not affirmatively verify as accurate.

               d. upon information and belief, Chase’s internal fraud detection systems had or should

                   have had clear alerts or notations indicating the disputed fraudulent Chase accounts

                   transactions as suspicious or unauthorized, thereby making its subsequent verification

                   to CRAs grossly negligent or willful.

            11. Similarly, the CRA Defendants are liable to Plaintiff for violation of several provisions of

               § 1681i of the FCRA due to its acts and omissions, including, but not limited to, the

               following:

               a. failing to (i) conduct reasonable investigations of the fraudulent Chase accounts

                   transactions to determine whether the information Plaintiff disputed was accurate, and

                   (ii) record the correct status of the fraudulent Chase accounts transactions, in violation

                   of § 1681i(a)(1);




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                  b. failing to review and consider all relevant information communicated by Plaintiff

                      concerning Plaintiff’s disputes about the fraudulent Chase accounts transactions, in

                      violation of § 1681i(a)(4); and

                  c. failing to promptly update the disputed fraudulent Chase accounts transactions

                      tradeline on Plaintiff’s credit file despite the fact that CRA Defendant could not have

                      affirmatively verified the fraudulent Chase accounts transactions as accurate upon a

                      lawful reinvestigation of Plaintiff’s disputes, in violation of § 1681i(a)(5).

                  d. despite receiving comprehensive dispute documentation, including an FTC Identity

                      Theft Affidavit, CRA Defendants systematically disregarded or superficially reviewed

                      Plaintiff’s detailed submissions, relying exclusively or predominantly on Chase’s

                      flawed verifications.

             12. As a direct and proximate result of each CRA Defendant’s negligent and willful actions,

                  conduct, and omissions, Plaintiff suffered actual damages, cognizable under the FCRA.

                  Such damages include but are not necessarily limited to the following: impediments to

                  Plaintiff’s ability to seek credit, damage to Plaintiff’s reputation for creditworthiness,

                  emotional distress, embarrassment, aggravation, and frustration. 1

             13. Defendants demonstrated a reckless disregard for Plaintiff’s rights under the FCRA,

                  despite receiving multiple disputes, government-certified identity theft affidavits, and clear

                  documentary evidence. Their failure to investigate and correct the fraudulent information

                  was not merely negligent, but a systemic and willful failure to comply with statutory




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           Plaintiff may have also suffered direct credit harm due to Defendants’ violations of the FCRA and NY FCRA.
         Plaintiff intends to inquire into the extent of direct credit harm he may have suffered through discovery from Defendant
         and third-parties.


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               obligations, and therefore, due to each Defendant’s willful violations of the FCRA, Plaintiff

               is entitled to an award of punitive damages.

            14. Defendants Chase, Equifax, Experian, and Trans Union each have been subject to

               numerous prior lawsuits, regulatory actions, consent orders, and settlements concerning

               similar violations of FCRA provision, evidencing a systemic problem and placing

               Defendants on clear notice regarding their obligations and the harms their failures cause.

                                                    PARTIES

            15. Plaintiff is an individual and “consumer” within the meaning of the FCRA (15 U.S.C. §

               1681a(c)) and NY FCRA (NY GBL § 380-a(b)). Plaintiff resides at Brooklyn, NY.

            16. Chase is a bank that furnishes consumer credit information to consumer reporting agencies.

               It has a principal place of business located at 1111 Polaris Parkway, Columbus, OH 43240.

            17. Chase is a “furnisher of information” within the meaning of the FCRA (15 U.S.C. § 1681s-

               2 et seq.).

            18. Equifax, Experian, and Trans Union are a consumer reporting agency as defined by the

               FCRA (15 U.S.C. § 1681a(f)) and the NY FCRA (GBL § 380-a(e)).

                                         FACTUAL ALLEGATIONS

            19. In 2024, Plaintiff ran his Equifax, Experian, and Trans Union credit reports and noticed

               that Defendant Chase was reporting the fraudulent Chase accounts transactions on

               Plaintiff’s Equifax, Experian, and Trans Union credit reports.

            20. Upon information and belief, Chase’s purported investigation did not include essential

               steps such as analyzing transaction patterns for abnormal spending, checking IP addresses

               or locations from which the fraudulent Chase accounts transactions were initiated, or




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               requesting further details from Plaintiff to verify his whereabouts during the fraudulent

               Chase accounts transactions.

            21. Chase further violated its obligations by failing to provide Plaintiff with timely and

               adequate written notice explaining the reversal of provisional credit, as required by

               Regulation E (12 CFR § 1005.11(d)). This left Plaintiff unaware of the basis for Chase's

               decision and unable to challenge the reversal effectively.

            22. However, Plaintiff was the victim of identity theft while in China, where his wallet and

               phone were stolen, including his three Chase credit cards. An unknown individual(s) used

               these stolen cards to make the unauthorized fraudulent Chase accounts transactions.

            23. As a result, on or around November 27, 2024, Plaintiff completed and filed a notarized

               FTC Identity Theft Victim’s Complaint and Affidavit. Plaintiff reported the fraudulent

               Chase accounts transactions as account transactions that were fraudulently made. Plaintiff

               also expressed his willingness to work with law enforcement in any investigation regarding

               his identity theft.

            24. Following Plaintiff’s disputes, Defendant Chase, Equifax, Experian, and Trans Union

               failed to perform FCRA-required reasonable investigations. As such, Defendant Chase

               unlawfully verified the fraudulent Chase accounts transactions as belonging to Plaintiff and

               CRA Defendants, in turn, continued to report incorrect, and therefore unverifiable,

               fraudulent Chase accounts transactions on (a) Plaintiff’s credit reports and, upon

               information and belief, (b) consumer reports about Plaintiff that CRA Defendants prepared

               and distributed to third-parties.

            25. Defendant Chase, Equifax, Experian, and Trans Union published the fraudulent Chase

               accounts transactions to third parties, falsely portraying Plaintiff as a poor credit risk. These




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               publications defamed Plaintiff, thereby (a) giving creditors and/or potential creditors the

               false impression that Plaintiff was a poor credit risk, (b) impugning Plaintiff’s reputation

               and character, and (c) causing Plaintiff to suffer substantial emotional distress. As such,

               Plaintiff has suffered concrete and particularized injuries under the FCRA such that

               Plaintiff has Article III standing to bring claims under the FCRA.

            26. According to Plaintiff’s Equifax, Experian, and Trans Union credit report, dated February

               4, 2025, there is an inquiry on each of Plaintiff’s credit files with Equifax, Experian, and

               Trans Union. Specifically, there was a dissemination of inaccurate credit information,

               regarding the fraudulent Chase accounts transactions, reported on Plaintiff’s Equifax,

               Experian, and Trans Union credit report to Capital One, N.A. (on December 4, 2024).

            27. Furthermore, according to Plaintiff’s Equifax credit report, dated February 4, 2025, there

               are two (2) inquiries on Plaintiff’s credit file with Equifax. Specifically, there was a

               dissemination of inaccurate credit information, regarding the fraudulent Chase accounts

               transactions, reported on Plaintiff’s Equifax credit report to Citibank N.A. (on December

               4, 2024 and February 4, 2025).

            28. Notably, Plaintiff filed the present action on March 25, 2025. Therefore, derogatory and

               defamatory credit information was disseminated to third parties before the present action

               was filed. The CRA Defendants know the exact number of such instances of disseminations

               in the past year since the fraudulent Chase accounts transactions began reporting on

               Plaintiff’s credit report. Plaintiff intends to explore the topic further in discovery in this

               matter.

            29. In a recent Opinion and Order barely six months old, the Southern District of New York

               has held that “[i]n the context of FCRA claims, courts have held that denials of credit and




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                reputational damage are concrete injuries sufficient to confer Article III standing.” See

                McTague v. Chase Bank, 2024 U.S. Dist. LEXIS 165060, at *5 (S.D.N.Y. Sep. 13, 2024).

                In McTague, defendant argued that plaintiff did not have standing to sue and the court

                agreed because plaintiff did not “include any factual allegations that he was denied credit,

                experienced reputational damage, or that he experienced any other concrete

                consequences.” Id. at *6.

            30. However, in the present matter, on or around February 2025, Plaintiff applied for and was

                denied credit by Citi, specifically for a Citi Strata Premier Mastercard, due to the inaccurate

                credit information, regarding the inaccurate fraudulent Chase account transactions,

                reporting on Plaintiff’s Equifax credit report.

         Equifax, Experian, and Trans Union reported (and are likely still reporting) the fraudulent

         Chase accounts transactions tradelines on Plaintiff’s Equifax, Experian, and Trans Union

         credit reports

            31. CRA Defendants have reported and likely continue to report a tradeline for the fraudulent

                Chase accounts transactions on the Plaintiff’s Equifax, Experian, and Trans Union credit

                reports.

         Plaintiff’s Disputes

                Equifax, Experian, and Trans Union Disputes and Dispute Results

            32. By letter dated November 27, 2024, Plaintiff wrote to CRA Defendants to dispute the

                fraudulent Chase accounts transactions that CRA Defendants were reporting on Plaintiff’s

                Equifax, Experian, and Trans Union credit reports. Specifically, Plaintiff informed CRA

                Defendants of the following: “I am contacting you about the fraud that happened with me

                in China. My wallet and phone was stolen along with my 3 chase cards. Fraud used up the




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               card. I notified chase bank, they removed the balance then put it right back on. I have

               attached the Victim Of Id Theft Booklet . . . The following card balances do not belong to

               me and are a result of fraud that I did not authorize.” Plaintiff also requested that CRA

               Defendants remove the fraudulent Chase accounts transactions from Plaintiff’s Equifax,

               Experian, and Trans Union credit reports. Plaintiff attached his FTC Identity Theft

               Victim’s Complaint and Affidavit with his November 27, 2024 letters. Plaintiff’s

               November 27, 2024 dispute letters were sent via certified mail.

            33. Plaintiff received dispute results from Equifax, Experian, and Trans Union, dated

               December 21, 2024, January 2, 2025, and December 11, 2024, respectively. CRA

               Defendants dispute results unlawfully verified that the fraudulent Chase accounts

               transactions were correctly reported as belonging to Plaintiff.

            34. By letter dated January 1, 2025, Plaintiff once again wrote to CRA Defendants to dispute

               the fraudulent Chase accounts transactions on Plaintiff’s Equifax, Experian, and Trans

               Union credit reports. Specifically, Plaintiff informed CRA Defendants of the following: “I

               am contacting you about the fraud that happened with me in China. My wallet and phone

               was stolen along with my 3 chase cards. Fraud used up the card. I notified chase bank, they

               removed the balance then put it right back on. I have attached the Victim Of ld Theft

               Booklet . . . The following card balances do not belong to me and are a result of fraud that

               I did not authorize.” Plaintiff also once again requested that CRA Defendants remove the

               fraudulent Chase accounts transactions from Plaintiff’s Equifax, Experian, and Trans

               Union credit reports. Plaintiff once again attached his FTC Identity Theft Victim’s

               Complaint and Affidavit with his January 1, 2025 letters. Plaintiff’s January 1, 2025

               dispute letters were sent via certified mail.




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            35. Plaintiff received dispute results from Experian dated January 13, 2025. Experian’s dispute

               results unlawfully verified that the inaccurate fraudulent Chase accounts transactions were

               correctly reporting.

            36. However, Plaintiff did not receive a response from Experian and Trans Union. However,

               Experian and Trans Union continued to report the inaccurate fraudulent Chase accounts

               transactions on Plaintiff’s Experian and Trans Union credit reports – according to

               Plaintiff’s Experian and Trans Union credit reports dated February 4, 2025.

         Damages

            37. Because of Defendant Chase’s, Equifax’s, Experian’s, and Trans Union’s misconduct,

               Plaintiff suffered actual damages cognizable under the FCRA and NY FCRA.

            38. Due to Defendant Chase’s, Equifax’s, Experian’s, and Trans Union’s inaccurate credit

               reporting, Plaintiff has been required to expend substantial time, resources, and emotional

               energy attempting to rectify his damaged credit reputation.

            39. Moreover, Plaintiff will explore in discovery the extent to which the inaccurate reporting

               caused him credit harm in the form of credit denials and/or other adverse actions

               concerning existing credit.

            40. Upon information and belief, Chase has a documented internal practice or policy of

               inadequately investigating disputes involving unauthorized transactions. Instead, it

               routinely shifts liability to consumers in violation of federal law. This internal practice has

               led to multiple consumer complaints, regulatory actions, and settlements, indicating a

               pattern of disregard for statutory obligations.

            41. In addition, the inaccurate fraudulent Chase accounts transactions reported by CRA

               Defendants has cost Plaintiff time, effort, and expense in pursuit of corrected credit reports.




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            42. Defendant Chase’s, Equifax’s, Experian’s, and Trans Union’s publication of inaccurate

               information about Plaintiff caused Plaintiff to suffer damages cognizable under the FCRA

               and NY FCRA, including but not necessarily limited to the following:

               a. Plaintiff suffered substantial emotional distress. Plaintiff’s emotional distress has

                   materially impacted his daily life, making routine financial decisions burdensome and

                   causing strained personal relationships due to economic anxiety stemming from being

                   wrongly labeled as financially irresponsible.

               b. Plaintiff was defamed by Defendant Chase, Equifax, Experian, and Trans Union, all of

                   which published false information about Plaintiff that damaged Plaintiff’s reputation

                   for creditworthiness and impugned Plaintiff’s reputation. Such defamation further

                   contributed to, among other things, Plaintiff's ongoing emotional distress.

               c. Plaintiff has experienced tangible harm to credit opportunities, including higher interest

                   rates, outright denial of credits, or compromised limits, details of which will be

                   explored and evidenced through discovery.

                                           FIRST CAUSE OF ACTION

                                     Violations of FCRA § 1681s-2(b) Against
                                                 Defendant Chase
                                            (Furnisher of Information)

            43. Plaintiff realleges and incorporates the above paragraphs as if reasserted and realleged

               herein.

            44. FCRA § 1681s-2(b), in pertinent part, provides: “if an item of information disputed by a

               consumer is found [by a furnisher] to be inaccurate or incomplete or cannot be verified

               after any reinvestigation . . . for purposes of reporting to a consumer reporting agency only,

               [the furnisher shall] . . . , based on the results of the reinvestigation promptly— (i) modify




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               that item of information; (ii) delete that item of information; or (iii) permanently block the

               reporting of that item of information.” § 1681s-2(b)(1)(E)(i) – (iii) (emphasis added).

            45. Chase violated FCRA § 1681s-2(b) by its acts and omissions, including but not limited to:

                   a. failing to conduct a reasonable investigation of Plaintiff’s disputes after receiving

                       notice of those disputes from Equifax, Experian, and Trans Union;

                   b. failing to review all relevant information provided by Equifax, Experian, and Trans

                       Union; and

                   c. failing to promptly modify, delete, or permanently block any information it could

                       not affirmatively verify as accurate, in violation of § 1681s-2(b)(1).

            46. Chase’s systematic reversal of provisional credits without reasonable investigations or

               adequate consumer notification directly impacts consumer trust across the State of New

               York, undermining confidence in electronic banking and creating widespread harm.

               Reasonable consumers rely on timely, transparent dispute investigations and Chase’s

               deceptive practices leave many unaware of their rights or remedies under the state or

               federal law.

            47. Defendant Chase’s internal guidelines, industry standards, and regulatory guidance clearly

               outline required steps for reinvestigating disputed accounts, especially involving identity

               theft. Based on information and belief, Chase knowingly disregarded these internally and

               industry-mandated guidelines.

            48. Had Chase performed reasonable investigations required by the FCRA, it could not have

               verified that the fraudulent Chase accounts transactions reported by CRA Defendants

               belonged to Plaintiff. Nevertheless, Chase verified to CRA Defendants that the fraudulent

               Chase accounts transactions reported by CRA Defendants were reporting as accurate. In




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               so doing, Chase violated § 1681s-2(b).

            49. Moreover, courts require furnishers and CRAs to conduct a reasonable investigation. It was

               held in Johnson v. MBNA Am. Bank, NA, 357 F.3d 426 (4th Cir. 2004), that simply

               verifying data without conducting an actual investigation is a violation. Therefore, keeping

               in view this caselaw, Chase’s failure to conduct a reasonable inquiry is evident because it

               willfully verified the disputed fraudulent Chase accounts transactions without requesting

               additional documents, contacting Plaintiff for clarification, or considering Plaintiff’s

               notarized FTC Identity Theft Affidavit.

            50. Notably, in Johnson, the Fourth Circuit Court of Appeals reaffirmed the Eastern District

               of Virginia’s judgment that “[t]he jury properly concluded that the bank did not conduct a

               reasonable investigation and awarded the consumer $ 90,300 in damages.”

               Johnson v. MBNA Am. Bank, NA, 357 F.3d 426, 428 (4th Cir. 2004).

            51. Because of Chase’s FCRA violations, Plaintiff suffered actual damages cognizable

               pursuant to the FCRA.

            52. Plaintiff has suffered significant stress, inconvenience, loss of time, anxiety, and distress

               over financial instability caused directly by Chase’s actions. The distress has affected his

               ability to manage everyday financial obligations, impaired his financial planning, and

               caused emotional anguish over wrongful accusations implied by Chase’s reversal of credit.

            53. Chase’s violations of § 1681s-2(b) were willful, rendering Chase liable for statutory

               damages, actual damages, costs and reasonable attorney’s fees, and punitive damages in an

               amount to be determined by the Court pursuant to § 1681n.

            54. In the alternative, Chase’s violations of § 1681s-2(b) were negligent, entitling Plaintiff to

               recover actual damages, costs, and reasonable attorney’s fees from Chase pursuant to §




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               1681o.

                                          SECOND CAUSE OF ACTION

                                   Violations of FCRA § 1681i and § 1681c-2
                            Against Defendants Equifax, Experian, and Trans Union
                                        (Consumer Reporting Agencies)

            55. Plaintiff realleges and incorporates the above paragraphs as if reasserted and realleged

               herein.

            56. FCRA § 1681i(a)(1) requires a CRA to complete a reasonable reinvestigation of the

               accuracy of any item of information in a consumer’s credit file that the consumer disputes

               to the CRA within 30 days of the dispute. Pursuant to § 1681i(a)(5), a CRA must “promptly

               delete [disputed] information from the file of the consumer, or modify [disputed]

               information, as appropriate” after completing its § 1681i(a)(1) reinvestigation if the CRA

               finds that the disputed information is “inaccurate or incomplete or cannot be verified.” §§

               1681i(a)(1) and (a)(5) (emphasis added). Furthermore, “‘the grave responsibility’ imposed

               by § 1681i(a) must consist of something more than merely parroting information received

               from other sources.” Cushman v. Trans Union Corp., 115 F.3d 220, 225 (3d Cir. 1997).

            57. Equifax, Experian, and Trans Union violated multiple sections of 15 U.S.C. § 1681i by

               their acts and omissions, including, but not limited to, the following:

               a. failing to conduct a reasonable reinvestigation of Plaintiff’s disputes to determine

                   whether the disputed information was inaccurate and record the correct status or delete

                   the items from Plaintiff’s credit files in violation of § 1681i(a)(1);

               b. failing to review and consider all relevant information submitted by Plaintiff

                   concerning Plaintiff’s disputes, in violation of § 1681i(a)(4); and




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               c. failing to properly modify or delete disputed information on and/or from Plaintiff’s

                   credit files upon a lawful reinvestigation in violation of § 1681i(a)(5).

               d. Equifax, Experian, and Trans Union had independent obligations under federal

                   regulations, including those promulgated by the Consumer Financial Protection Bureau

                   (CFPB), to independently assess and reinvestigate disputed information rather than

                   blindly accepting information from the furnishers like Chase.

            58. Equifax, Experian, and Trans Union also violated §1681c-2 by failing to block information

               that Plaintiff identified as resulting from an alleged identity theft and, upon information

               and belief, failing to notify Chase that the information was required to be blocked, in

               violation of §1681c-2(b).

            59. Had CRA Defendants reasonably investigated Plaintiff’s disputes, CRA Defendants could

               not have verified that they were accurately reporting the fraudulent Chase accounts

               transactions as belonging to Plaintiff on Plaintiff’s Equifax, Experian, and Trans Union

               credit reports. Nevertheless, following Plaintiff’s disputes, Equifax, Experian, and Trans

               Union each verified and continued to report the fraudulent Chase accounts transactions on

               Plaintiff’s Equifax, Experian, and Trans Union credit reports. In so doing, Equifax,

               Experian, and Trans Union violated § 1681i (and a corresponding provision of the NY

               FCRA).

            60. Because of CRA Defendants’ FCRA violations of § 1681i and § 1681c-2, Plaintiff suffered

               actual damages, including, but not limited to, loss of credit, damage to reputation,

               embarrassment, humiliation, anguish, and other emotional harm cognizable pursuant to the

               FCRA.

            61. Violations of § 1681i and § 1681c-2 by CRA Defendants were willful, rendering CRA




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               Defendant liable for statutory damages, actual damages, costs and reasonable attorney's

               fees, and punitive damages in an amount to be determined by the Court pursuant to § 1681n.

            62. In the alternative, CRA Defendants’ violations of § 1681i and § 1681c-2 were negligent,

               entitling Plaintiff to recover actual damages, costs, and reasonable attorney’s fees from

               CRA Defendants under § 1681o.

                                            THIRD CAUSE OF ACTION

                                  Violations of NY FCRA § 380-f and § 380-j
                            Against Defendants Equifax, Experian, and Trans Union
                                       (Consumer Reporting Agencies)

            63. Plaintiff realleges and incorporates the above paragraphs as if reasserted and realleged

               herein.

            64. CRA Defendants violated multiple sections of the NY FCRA (NY GBL §§ 380-380-u) by

               their acts and omissions.

            65. CRA Defendants violated the NY FCRA by:

               a. failing to promptly and properly reinvestigate Plaintiff’s disputes to determine whether

                   the disputed information was inaccurate and record the correct status of the disputed

                   information in violation of § 380-f(a);

               b. failing to maintain reasonable procedures to assure maximum possible accuracy of

                   information maintained in Plaintiff’s credit files, in violation of § 380-j(a); and

               c. failing to establish and/or to follow reasonable procedures to assure maximum possible

                   accuracy of information in consumer reports that CRA Defendants distributed to third

                   parties, in violation of § 380-j(e).

            66. These violations of § 380-f and § 380-j were willful, considering that despite Plaintiff

               providing a notarized FTC Identity Theft Affidavit, Chase’s internal fraud investigation




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                findings and supporting documentation, CRA Defendants continued to report the

                fraudulent Chase accounts transactions, therefore making CRA Defendants liable for actual

                damages, costs and reasonable attorney's fees, and punitive damages in an amount to be

                determined by the Court pursuant to § 380-l. Plaintiff is also entitled to injunctive relief

                restraining CRA Defendants from any further violations of Plaintiff's rights pursuant to the

                NY FCRA.

            67. In the alternative, the CRA Defendants violations of §§ 380-f and 380-j were negligent,

                entitling Plaintiff to recover actual damages, costs, and reasonable attorney's fees pursuant

                to § 380-m.

            68. Plaintiff is also entitled to injunctive relief restraining CRA Defendants from any further

                violations of Plaintiff's rights pursuant to the NY FCRA.

                                         DEMAND FOR TRIAL BY JURY

         Plaintiff hereby respectfully requests a trial by jury for all claims and issues in his Complaint to

         which he is or may be entitled to a jury trial.

                                              PRAYER FOR RELIEF

            WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages and equitable

         relief against Defendants:

            1. Awarding Plaintiff against each Defendant actual damages, statutory damages, punitive

                damages, costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1681n and § 1681o

                as well as, with regard to the CRA Defendants, NY GBL § 380-l and § 380-m;




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            2. Ordering Equifax, Experian, and Trans Union to:

               a. immediately and permanently (i) delete and/or update all inaccurate information

                   concerning the inaccurate fraudulent Chase accounts transactions from and/or on

                   Plaintiff’s credit reports and files, and (ii) cease reporting inaccurate information

                   concerning the inaccurate fraudulent Chase accounts transactions to any and all persons

                   and entities to whom the CRA Defendants reports consumer credit information;

               b. send updated and corrected consumer reports to all persons and entities to whom the

                   CRA Defendants have reported inaccurate information about the inaccurate fraudulent

                   Chase accounts transactions;

               c. implement and demonstrate compliance with reasonable and enhanced reinvestigation

                   procedures, especially in identity theft cases, including mandatory staff training and

                   audits for a defined compliance period of no less than three (3) years; and

               d. grant Plaintiff tradeline deletion of the fraudulent Chase accounts transactions.

            3. Enjoining CRA Defendants from violating Plaintiff's NY FCRA rights; and

            4. Such other and further relief as may be necessary, just, and proper.



         Dated: March 26, 2025

                                                             Respectfully submitted,


                                                             _____________________
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